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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

Allele Biotechnology and Pharmaceuticals,
Inc.,

                Plaintiff,
                                                          Civil Action No. ________
       v.
                                                          Jury Trial Demanded
Regeneron Pharmaceuticals, Inc.,

                Defendant.




                                           COMPLAINT

       Plaintiff Allele Biotechnology and Pharmaceuticals, Inc. (“Allele” or “Plaintiff”) brings

this action for patent infringement against Regeneron Pharmaceuticals, Inc. (“Regeneron” or

“Defendant”).

                                          THE PARTIES

       1.       Plaintiff Allele is a California corporation having its principal place of business at

6404 Nancy Ridge Drive, San Diego, California. Allele focuses on developing and adapting

cutting-edge technologies for clinical and therapeutic use and works on biological advancements

that have been at the forefront of molecular biology research, including RNA interference,

fluorescent proteins, induced pluripotent stem cells (iPSCs), genome editing, and camelid-

derived single-domain antibodies.

       2.       Upon information and belief, defendant Regeneron is a New York corporation

with its principal place of business at 777 Old Saw Mill River Road, Tarrytown, New York.

Regeneron is primarily in the business of pharmaceutical preparations and commercializes

products to treat various diseases.
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                                         JURISDICTION

       3.       This is a civil action for patent infringement under 35 U.S.C. § 271.

       4.       This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

       5.       Upon information and belief, this Court has personal jurisdiction over Regeneron

because, inter alia, Regeneron is incorporated in New York; has substantial, continuous, and

systematic contacts with the State of New York that render it at home in New York; markets,

sells, and/or distributes pharmaceutical products to residents of the State of New York; and

enjoys substantial income from sales of its pharmaceutical products in the State of New York.

       6.       Upon information and belief, Regeneron has engaged in and maintained

systematic and continuous business contacts within the State of New York and has purposefully

availed itself of the benefits and protections of the laws of New York.

       7.       Upon information and belief, Regeneron holds current and valid “Wholesaler”

and “Manufacturer” licenses from the New York State Board of Pharmacy under Registration

Nos. 034240, 022167, and 022168.

       8.       Upon information and belief, Regeneron consented to jurisdiction in New York

by incorporating in New York and registering to conduct business with the State of New York

and maintaining registered agent C T CORPORATION SYSTEM, 28 Liberty St., New York,

New York.

       9.       This Court also has personal jurisdiction over Defendant because it has previously

brought suit in this District and availed itself of this forum by asserting claims for the purpose of

litigating patent infringement disputes. See, e.g., Complaint, Regeneron Pharm., Inc. v. Merus

N.V., No. 1:14-cv-01650-KBF (S.D.N.Y. Mar. 11, 2014), ECF No. 1. This Court also has




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personal jurisdiction over Defendant because it has previously been sued in this District without

challenging this Court’s assertion of personal jurisdiction and availed itself of this forum by

asserting counterclaims for the purpose of litigating patent infringement disputes. See, e.g.,

Answer and Countercls., Novartis Vaccines and Diagnostics, Inc. v. Regeneron Pharm., Inc., No.

1:18-cv-02434-DLC (S.D.N.Y. Nov. 7, 2018), ECF No. 96.

                                             VENUE

        10.     Venue is proper in this Judicial District under 28 U.S.C. §§ 1400 and 1391.

Venue is proper in this Court at least because Regeneron is incorporated in the State of New

York, maintains its principal place of business in this District, and maintains its registered office

in this District and therefore “resides” in New York and in this District under 28 U.S.C.

§ 1400(b).

        11.     Venue also is proper in this Court because Defendant has previously brought suit

in this District and availed itself of this forum by asserting claims for the purpose of litigating

patent infringement disputes. See, e.g., Complaint, Regeneron Pharm., Inc. v. Merus N.V., No.

1:14-cv-01650-KBF (S.D.N.Y. Mar. 11, 2014), ECF No. 1. Venue is also proper in this Court

because Defendant has previously been sued in this District without challenging that venue is

proper in this Court and availed itself of this forum by asserting counterclaims for the purpose of

litigating patent infringement disputes. See, e.g., Answer and Countercls., Novartis Vaccines

and Diagnostics, Inc. v. Regeneron Pharm., Inc., No. 1:18-cv-02434-DLC (S.D.N.Y. Nov. 7,

2018), ECF No. 96.

                                        BACKGROUND

        12.     Allele repeats and realleges the allegations of the foregoing paragraphs as though

fully set forth herein.




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       13.     Allele is a private, San Diego-based company that explores the mechanisms of

biological processes to develop technologies and products for biomedical researchers and for

clinical and therapeutic use. The company was founded by scientists with the goal of advancing

discovery and innovation.

       14.     Fluorescent proteins (FPs) are a class of proteins capable of emitting light of one

wavelength upon exposure to light of a different wavelength. FPs have numerous uses in

biomolecular research. For example, biologists may introduce a gene (or a gene chimera)

encoding an engineered FP into living cells and then visualize the expression and subcellular

dynamics of the subsequently expressed gene product using fluorescence microscopy. FPs may

also be used as readily detectable tags in various assays and reporter constructs.

       15.     The value of the discovery and development of FPs has been well recognized and

appreciated across a wide spectrum of clinical and research fields. Research has continued in

search of bright, photostable, and fast-maturing FPs in all spectral regions. Those that perform

well as fusions or in fluorescent resonance energy transfer (FRET) applications see ever-

increasing use as molecular markers. Recently, the emergence of novel microscopy techniques

that can image with resolutions of ~10 nm have further emphasized the importance of fluorescent

protein advancement.

       16.     For a span of 20 years, researchers had looked to Aequorea victoria Green

Fluorescent Protein (avGFP) for their imaging and tracking needs. Over this time period,

numerous refinements to avGFP have elicited variants capable of emitting in a wide spectrum of

colors and have resulted in optimized versions of avGFP used for a multitude of applications. As

imaging resolution increased, however, most common fluorescent proteins, including avGFP, did




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not possess certain characteristics necessary for the most demanding high-resolution

applications.

       17.      Allele first started offering FPs in 2006 with one guiding principle: to create the

brightest truly monomeric FPs to enable and advance imaging technologies and research

methods. Most naturally occurring FPs exist in oligomeric form, such dimers or tetramers. But

oligomeric FPs have disadvantages as molecular biology tools. For example, their larger size and

tendency to self-aggregate can limit their use in fusion studies to localize or functionally

characterize a protein of interest, compromise their stability under demanding experimental

conditions, reduce the resolution of fluorescence imaging with such proteins, and compromise

the utility of such FPs in FRET applications. Monomeric FPs, by contrast, eliminate those

problems inherent with traditional oligomeric FPs.

       18.      To meet the continuing need for smaller, brighter, more stable FPs in ever more

demanding assays and imaging applications, particularly in the yellow and green segment of the

emission spectrum, Allele developed a novel, high-performance monomeric yellow-green

fluorescent protein, mNeonGreen, derived from a tetrameric yellow FP (YFP) found in a small

marine invertebrate of the cephalochordate subphylum known as Branchiostoma lanceolatum.

       19.      Allele derived mNeonGreen by creating and introducing a series of specialized

changes from the original tetrameric cephalochordate FP, which resulted in a novel, monomeric

FP that still managed to exhibit sharp excitation and emission peaks with excellent brightness,

quantum yield, and stability. The resulting monomeric mNeonGreen protein was blue-shifted

relative to the original cephalochordate tetrameric FP, placing its emission wavelength between

the traditional GFP and YFP classes. As a result, mNeonGreen fluorescence can be detected and




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imaged using standard GFP and YFP filter sets with little to no reduction in detected

fluorescence signal.

        20.     Allele’s mNeonGreen is among the brightest monomeric green or yellow

fluorescent protein produced to date and has proven to be an excellent fusion tag for traditional

imaging as well as single-molecule super-resolution imaging.

        21.     Allele is the assignee and lawful owner of United States Patent No. 10,221,221

(“the   ’221    patent”),   entitled   “Monomeric     Yellow-Green     Fluorescent    Protein   from

Cephalochordate,” which duly and lawfully issued from the United States Patent and Trademark

Office on March 5, 2019. A true and correct copy of the ’221 patent is attached as Exhibit A and

made a part hereof.

        22.     As the owner of the ’221 patent by assignment, Allele is authorized and has

standing to bring legal action to enforce all rights arising under the ’221 patent.

        23.     The ’221 patent describes and claims Allele’s new and useful high performance

monomeric yellow-green fluorescent proteins, one embodiment of which Allele has marketed

under the name mNeonGreen. For ease of reference Allele herein will refer to the claimed

proteins as “mNeonGreen.”

        24.     Business Wire reported on the issuance of the ’221 patent on April 23, 2019, and

touted Allele’s patented mNeonGreen protein as the “world’s brightest monomeric fluorescent

protein.”

        25.     Hundreds of organizations and universities have active licenses to use Allele’s

mNeonGreen technology, which are listed at https://reagents.allelebiotech.com/fluorescent-

protein-active-licenses/.




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       26.     Regeneron does not have, and has never had, a license to use Allele’s

mNeonGreen technology. Upon information and belief, Regeneron has used and/or is currently

using Allele’s patented mNeonGreen technology, as demonstrated by multiple published articles

and papers authored by Regeneron representatives, some of which are described below.

       27.     One such example is a paper first published in June 2020 in the academic journal

Science, entitled “Studies in Humanized Mice and Convalescent Humans Yield a SARS-CoV-2

Antibody Cocktail,” co-authored by Regeneron employees (Hansen, et al.).1 A true and correct

copy of that paper is attached as Exhibit B. The Hansen paper explains how neutralizing

antibodies have become an important tool in treating infectious diseases and describes different

approaches to generate antibodies against the “SARS-CoV-2 spike” protein. The paper explains

that ”[t]housands of antibodies were isolated and subsequently screened” for their ability to

neutralize a viral reporter construct detected by its expression of mNeonGreen fluorescent

protein (“pVSV-SARS-CoV-2-S(mNeon)”).          During this process, “mNeon expression was

measured 24 hours post-infection as a read-out for virus infectivity.” For reference, the

Regeneron paper directs readers to an article describing the original creation of the mNeonGreen

protein, published by the inventors of the ’221 patent (Shaner et al., A bright monomeric green

fluorescent protein derived from Branchiostoma lanceolatum, NAT. METHODS 10, 407–409

(2013)).

       28.     Published with the above-described Science paper by Hansen et al. (Exhibit B)

were “Supplementary Materials” disclosing additional data, processes, and other information. A

true and correct copy of the published Supplementary Materials is attached as Exhibit C. The




       1
       J. Hansen et al., Studies in Humanized Mice and Convalescent Humans Yield a SARS-
CoV-2 Antibody Cocktail, SCIENCE 369, 1010-1014 (21 August 2020).


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materials explain that “[n]on-replicative pseudoparticles were generated using a VSV genome

encoding the mNeonGreen fluorescent reporter gene instead of the native viral glycoprotein

(VSV-G). Infectious particles complemented with VSV-G (VSVΔG:mNeon/VSV-G) were

recovered and produced using standard techniques with minor modifications.” Then, “[c]ells

were monitored for mNeonGreen expression or cytopathic effect (CPE) indicative of virus

replication.” The supplementary materials again reference the same article published by the

inventors of the ʼ221 patent describing the creation of mNeonGreen (Shaner et al., A bright

monomeric green fluorescent protein derived from Branchiostoma lanceolatum, NAT. METHODS

10, 407–409 (2013)).

       29.     Another example is a second paper first published in June 2020 in Science,

entitled “Antibody Cocktail to SARS-CoV-2 Spike Protein Prevents Rapid Mutational Escape

Seen with Individual Antibodies,” authored by Regeneron employees (Baum, et al.).2 A true and

correct copy of that paper is attached as Exhibit D. The Baum paper similarly explains how anti-

SARS-CoV-2 spike antibodies were tested in neutralization assays against spike protein variants

encoded into pVSV-SARS-CoV-2-S(mNeon) viral pseudoparticle reporter constructs detected by

their expression of mNeonGreen.

       30.     Published with the Baum Science paper (Exhibit D) were “Supplementary

Materials.” A true and correct copy of the published Supplementary Materials is attached as

Exhibit E. These materials again explain the use of mNeonGreen in the generation of

recombinant VSV, pseudotyping of VSV, and neutralization assays with VSV-based reporters.




       2
        A. Baum et al., Antibody Cocktail to SARS-CoV-2 Spike Protein Prevents Rapid
Mutational Escape Seen with Individual Antibodies, 369 SCIENCE 1014-1018 (21 August 2020).


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       31.     A third example is a paper published in July 2020 in bioRxiv, entitled “SARS-

CoV-2 Spike Protein Variant D614G Increases Infectivity and Retains Sensitivity to Antibodies

That Target the Receptor Binding Domain,” co-authored by Regeneron employees.3 A true and

correct copy of that paper is attached as Exhibit F. The bioRxiv paper discusses that

pseudoparticle generation and neutralization assays using mNeonGreen were performed as

described in the Hansen and Baum papers. For example, neutralization assays were performed by

mixing diluted serially antibodies with pVSV-SARS-CoV-2-S-mNeon pseudoparticles, using

those mixtures to challenge Vero cells, and counting fluorescent foci resulting from

mNeonGreen expression as a read-out for virus infectivity.

       32.     Regeneron’s use of mNeonGreen is commercial in nature and has been

undertaken in the development and production of commercial products.

       33.     Allele has consistently shown that it is willing to license its mNeonGreen

technology on reasonable terms in order to help facilitate the use of that protein by third parties

in their efforts to develop new and essential technologies.

       34.     After learning of Regeneron’s infringement of ’221 patent based on the evidence

above, Allele sought on multiple occasions to discuss Regeneron’s taking a license to that patent.

All of Allele’s overtures were ignored.

       35.     For example, on June 26, 2020, Allele completed an online contact form directed

to Regeneron’s business development group. Allele received no response.

       36.     On July 2, 2020, Allele called Regeneron’s corporate headquarters and spoke to

multiple employees who refused to connect Allele with Regeneron’s business development



       3
        L. Yurkovetskiy et al., SARS-CoV-2 Spike Protein Variant D614G Increases Infectivity
and Retains Sensitivity to Antibodies That Target the Receptor Binding Domain, BIORXIV (July
2020).


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department and told Allele to send an email. Allele sent an email that afternoon. Allele received

no response.

       37.     On July 9, 2020, Allele again called Regeneron’s corporate headquarters, but

multiple employees again refused to connect Allele with anyone in Regeneron’s legal or business

development departments. Eventually those employees hung up on Allele’s representative. Allele

sent a second email that afternoon. Allele has yet to receive any response.

       38.     Upon information and belief, Regeneron’s use of Allele’s mNeonGreen

technology is directly covered by Allele’s ’221 patent and has no substantial, non-infringing use.

       39.     Regeneron therefore directly infringes the mNeonGreen technology claimed in

the ’221 patent. And, upon information and belief, Regeneron’s publications, press releases, and

other papers instruct others on how to use the patented technology, causing others to directly

infringe the mNeonGreen technology claimed in the ’221 patent.

       40.     Allele has not authorized Regeneron to use the mNeonGreen technology claimed

in the ’221 patent.

                      COUNT I: INFRINGEMENT OF THE ’221 PATENT

       41.     Allele repeats and realleges each and every allegation of the foregoing paragraphs

as though fully set forth herein.

       42.     Upon information and belief, Defendant’s use of mNeonGreen is covered by one

or more claims of the ’221 patent.

       43.     Upon information and belief, the manufacture, use, offer for sale, sale, marketing,

distribution, and/or importation of mNeonGreen by Defendant directly infringes one or more

claims of the ’221 patent.




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        44.     Upon information and belief, Defendant has actual knowledge of the ’221 patent

and actual knowledge that its activities constitute direct infringement of the ’221 patent, or has

willfully blinded itself to the infringing nature of its activities, and yet continues its infringing

activities.

        45.     Upon information and belief, the manufacture, use, offer for sale, sale, marketing,

distribution, and/or importation of mNeonGreen by Defendant indirectly infringes through

inducement and contributory infringement one or more claims of the ’221 patent.

        46.     Upon information and belief, Defendant has actual knowledge of the ’221 patent

and actual knowledge that its activities constitute indirect infringement of the ’221 patent or has

willfully blinded itself to the infringing nature of its activities, and yet continues its infringing

activities.

        47.     Defendant engaged in the foregoing conduct with respect to the ’221 patent

during the term of the patent and without authority from Allele.

        48.     Defendant’s infringement of the ’221 patent has been and will continue to be

willful, deliberate, and intentional.

        49.      As a direct and proximate result of Defendant’s infringement of the ’221 patent,

Plaintiff has been and will continue to be damaged and deprived of its rights in the ’221 patent,

for which Plaintiff is entitled to relief.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        (a)     a finding that the ’221 patent is valid and enforceable;

        (b)     a judgment that Defendant has infringed, actively induced infringement of, and/or

contributed to the infringement of one or more claims of the ’221 patent;




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        (c)      a judgment that Defendant’s infringement of the ’221 patent is willful;

        (d)      an award of Plaintiff’s damages or other monetary relief to adequately

compensate Plaintiff for Defendant’s infringement of the ’221 patent, and such damages be

trebled under 35 U.S.C. § 284 and awarded to Plaintiff, with pre-judgment and post-judgment

interest as allowed by law;

        (f)      a judgment that this is an exceptional case under 35 U.S.C. § 285 and awarding

Plaintiff its attorneys’ fees, expert witness fees, costs, and all expenses incurred in this action,

with interest;

        (g)      an award of all of Plaintiff’s actual and compensatory damages; and

        (h)      an award of any further and additional relief to Plaintiff as this Court deems just

and proper.

                                         JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by

jury on all issues triable by jury.




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DATED: October 5, 2020             By: /s/ Martin E. Gilmore
                                           Martin E. Gilmore

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